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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION


  ADVOCACY TRUST, LLC, as Special                    )
  Administrator and Personal Representative          )
  of the Estate of THOMAS ROY                        )
  RODABAUGH, Deceased,                               )
                                                     )
                                                     )
              PLAINTIFFS,                            )
                                                     )           CASE NO.: 5:21-CV-5064
  V.                                                 )
                                                     )
  KIA CORPORTION,                                    )           JURY TRIAL DEMANDED
  KIA AMERICA, INC.,                                 )
  And JOHN DOES 1-3,                                 )
                                                     )
              DEFENDANTS.                            )
                                                     )
                                                     )

  PLAINTIFF’S MOTION FOR EXTENSION OF EXPERT DISCLOSURES DEADLINE
  OR IN THE ALTERNATIVE, PLAINTIFF’S MOTION TO COMPEL DEFENDANTS’
  CORPORATE DESIGNEES TO SIT FOR DEPOSITION PRIOR TO AUGUST 26, 2022
        COMES NOW, the Plaintiff, ADVOCACY TRUST, LLC, as Special Administrator and

 Personal Representative of the Estate of THOMAS ROY RODABAUGH, deceased, by and

 through the undersigned counsel, pursuant to Local Rule 7.2(d)(1), Local Rule 6.2, Fed. Rs. Civ.

 P. 6(b) and 16(b)(4), hereby files its Motion for Extension of Expert Disclosures Deadline or in

 the alternative, Plaintiff’s Motion to Compel Defendants’ Corporate Designees to sit for

 Deposition Prior to August 26, 2022, and states as follows, to-wit:

                                       I. INTRODUCTION
        First, Plaintiff respectfully requests this Court extend the Expert Disclosures deadline to

 October 31, 2022, and the Rebuttal Expert Disclosure deadline to November 30, 2022. Plaintiff’s

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 request for extension is in compliance with this Court’s current Scheduling Order (9), Local Rule

 7.2(d)(1), Local Rule 6.2, Fed. R. Civ. P. 6(b), and Fed R. Civ. P. 16(b)(4) because none of the

 dates listed above have yet come and because Plaintiff submits there is good cause to extend these

 dates. Should this Court deny that motion, Plaintiff respectfully requests this Court order

 Defendants’ Corporate Designees to sit for their depositions prior to the current Expert Disclosure

 deadline of August 26, 2022, so that Plaintiff has sufficient information to provide to their Experts

 so they may complete their Expert Disclosures prior to the August 26, 2022, deadline.

                                     II. LEGAL STANDARD

        A schedule may be modified only for good cause and with the judge’s consent. Fed. R. Civ.

 P. 16(b)(4). When an act may or must be done within a specified time, the court may, for good

 cause, extend the time. Fed. R. Civ. P. 6(b). The primary measure of good cause is the movant’s

 diligence in attempting to meet the order’s requirements. United States v. Cameron- Ehlen Grp.,

 Inc., No. 13-CV-3003 (WMW/DTS), 2019 WL 1915795, at *1 (D. Minn. Apr. 30, 2019). Although

 the good cause analysis emphasizes diligence, there is not a clear test for when a party is diligent

 enough to establish good cause, and the district court retains broad discretion. Id., quoting Shank

 v. Carleton Coll., 329 F.R.D. 610, 614 (D. Minn. 2019). Eighth Circuit caselaw reflects the

 importance of diligence to the good cause analysis, but this case law does not go so far as to state

 that diligence is required for the district court to find good cause. Shank v. Carleton Coll., 329

 F.R.D. 610, 614 (D. Minn. 2019) citing Harris v. FedEX Nat'l LTL, Inc., 760 F.3d 780, 786 (8th

 Cir. 2014).

        In United States v. Cameron, the Court found that Plaintiffs demonstrated that good cause

 existed to extend the scheduling order for the following reasons:


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        a. Although not always at the pace the Defendants would like, Plaintiffs actively pursued

              discovery since the Scheduling Order was issued;

        b. The remaining discovery is not reasonably likely to be completed by the current

              deadline, irrespective of Plaintiff’s diligence.

        c. The Government’s attorneys were briefly furloughed;

        d. There were several more depositions to take; and

        e. The Court found that no prejudice to Defendants outweighed the good cause already

              shown by Plaintiffs, where Defendants’ primary concern was that the matter was

              hanging overhead and threatening business and personal relationships.

 See United States v. Cameron-Ehlen Grp., Inc., No. 13-CV-3003 (WMW/DTS), 2019 WL

 1915795, at *2 (D. Minn. Apr. 30, 2019).

        The case at bar is similar to the Cameron case because here Plaintiff is diligently pursuing

 Discovery. Plaintiff needs to depose Defendants’ corporate designees in order for their Experts to

 complete the Expert Disclosures timely and the dates provided by the defense do not allow this,

 and because Plaintiff’s good cause outweighs concern(s) Defendants may have, if any.

        Additionally, Federal Rule of Civil Procedure 30(b)(6), governs depositions of corporate

 and organizational entities. Here, Defendants are both corporate entities, so this rule applies to

 them. Upon the receipt of a Rule 30(b)(6) notice of examination, a corporation must designate

 one or more persons to testify on its behalf. Further, F.R.C.P. 26(b) provides that [p]arties may

 obtain discovery regarding any matter, not privileged, that is relevant to the claim or defense of

 any party.




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                               III. HISTORY AND ARGUMENT

    On March 3, 2022, Plaintiff first served Defendants with their 30(b)6 Notices of Depositions,

 request for dates, and a request to meet and confer regarding same. See Exhibit “A.” That same

 day, Defense Counsel acknowledged receipt of said notices and stated she would be in touch

 regarding her availability to discuss. See Exhibit “B.” On March 11, 2022, Defense Counsel

 reached out to schedule the meet and confer and it ultimately took place on March 22, 2022. See

 Exhibit “C.”

    Subsequently, and pursuant to Defense Counsel’s objections discussed during the meet and

 confer, Plaintiff’s Counsel amended their notices and served them with a second request for dates

 to the defense on March 30, 2022. See Exhibit “D.” On March 31, 2022, Defense Counsel

 confirmed receipt of said notices and stated she would touch base shortly. See Exhibit “E.”

    On April 11, 2022, Plaintiff’s Counsel reached out to Defense Counsel stating they had not yet

 received dates for the corporate designee depositions. See Exhibit “F.” On April 12, 2022, with

 a looming discovery deadline of June 15, 2022, a sixty-day notice agreement between parties, and

 no response from Defense Counsel, Plaintiff’s Counsel unilaterally set the 30(b)6 depositions for

 June 13, 2022, and served to Defense Counsel with flexibility that if the date did not work,

 Plaintiff’s Counsel was willing to reschedule. See Exhibit “G.”

    On April 15, 2022, Defense Counsel phoned Plaintiff’s Counsel and acknowledged their

 understanding as to why Plaintiff unilaterally set the depositions and that they expect to set the

 30(b)6 depositions at the end of May/beginning of June 2022.

    On April 21, 2022, Defense Counsel served Plaintiff with their objections to Plaintiff’s

 amended notices and referenced the phone discussion of April 15, 2022, again stating that they

 expect to set the 30(b)6 depositions at the end of May/beginning of June. See Exhibit “H.”

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     On April 25, 2022, pursuant to a recent recall letter received dated March 21, 2022, to Plaintiff,

 Plaintiff’s Counsel’s expert performed a fault code check on the subject airbag module confirming

 the recall fault code was present. As such, the following day on April 26, 2022, Plaintiff’s Counsel

 notified Defense Counsel they would need to depose Defendants’ corporate designee regarding

 this issue as well and would be requesting an extension of the expert disclosure deadline. See

 Exhibit “I.” That same day, Defense Counsel phoned Plaintiff’s Counsel and informed them they

 need to amend their notices to include the recall information as they would not be reproducing a

 witness if Plaintiff filed a separate notice later.

     On April 26, 2022, Plaintiff’s Counsel filed their Modified Motion for Extension of Expert

 Disclosures and Discovery Deadline (See Exhibit “J”) in order to have more time to investigate

 the recall issue and timely file Expert Disclosures. On April 28, 2022, this Court filed their

 Amended Final Scheduling Order (See Exhibit “K”) extending all deadlines which included a new

 expert disclosure date of August 26, 2022. Given this, Plaintiff set out to retain recall experts and

 investigate the claim.

     On May 24, 2022, Plaintiff’s Counsel informed Defense Counsel they were amending the

 notices to add the appropriate recall topics and inquired if Defendants needed to change the June

 13, 2022, 30(b)6 depositions as previously discussed. That same day, Defense Counsel indicated

 that they did need to be changed but could not provide a new date until she received the amended

 notice. She also represented that she believed our recall concerns would be better addressed

 through written discovery (See Exhibit “L”), which Plaintiff’s Counsel respectfully disagrees with,

 especially given there is an agreement that gives Defendants ninety days to respond to written

 discovery.



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    On June 7, 2022, Plaintiff’s Counsel served their amended notices to not only address the recall

 topics but in accordance with the Defendants’ objections so that the correct topics were with the

 correct entity, no other changes were made other than slight wording on the pre-existing topics for

 clarification rather than substantive changes. (See Exhibit “M.”)

    On June 9, 2022, Defense Counsel confirmed receipt of the deposition notices and again

 indicated that the depositions needed to be moved but failed to provide dates. She again pushed

 written discovery and attempted to reason that this was the most efficient form of getting the

 information needed, however, Plaintiff’s position is that deposition of the corporate designee is

 the most efficient manner, especially given the ninety-day discovery response agreement. (See

 Exhibit “N.”)

    On June 10, 2022, Plaintiff’s Counsel responded that the only additions were regarding the

 recall and that the topics switched from one defendant to the other were based on their objections,

 so they were aware of the topics to designate someone for. (See Exhibit “O.”) Later that day, the

 Friday before the Monday, June 13, 2022, depositions, Defense Counsel called and said would not

 be producing witnesses on June 13, 2022, because our amended notices stated the new recall topics.

 Defense counsel could also not provide new dates (for any of the topics) and represented they still

 did not know who the appropriate corporate designees were.

    In an effort to work together, Plaintiff’s Counsel agreed to reset the depositions for 60 days

 (given the notice agreement) and they were reset for August 8, 2022, with an agreement that

 Defense Counsel would give new dates two weeks prior to August 8, 2022, if they needed to be

 reset. On June 14, 2022, Plaintiff’s Counsel amended their notices to reflect the new August 8,

 2022, date for the 30(b)6 depositions and served to the Defense. (See Exhibit “P.”)



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    On June 30, 2022, Defense Counsel sent an email identifying someone to testify as to topics

 1-4, 7-8, and 11-12 and that the individual is available for deposition on August 31, 2022.

 Plaintiff’s Counsel was available, so a notice was filed for this date. (See Exhibit “Q”).

    On July 20, 2022, it came to Plaintiff’s Counsel’s attention that Defense Counsel provided a

 date of August 31, 2022, for eight of the topics, which occurs after the Expert Disclosure date of

 August 26, 2022. Plaintiff’s Counsel requested a new date from Defense Counsel for this

 deposition, however, on July 24, 2022, Defense Counsel represented this was the date they could

 provide. (See Exhibit “R.”)

    On July 25, 2022, at approximately 9:00 pm, exactly two weeks before the August 8, 2022,

 depositions, Defense Counsel served their objections to Plaintiff’s most recent depositions notices

 and also provided that, “The second KA corporate representative is available for deposition on

 October 4, 2022, subject to KA’s objections to the notice of deposition. Please confirm this date

 works and re-notice the deposition. Witnesses from KC are available on September 26, 27, 29, or

 30, again, subject to KC’s objections to the notice of deposition.” (See Exhibit “S.”)

    All of the dates provided by the defense for all Corporate Designees are well after the Expert

 Disclosure Deadline of August 26, 2022. In an effort to cooperate with Defendants and allow their

 depositions to go forth based on their relayed availability, although they have had since April for

 the recall topics and March for the remaining topics to designate their witnesses, Plaintiff

 respectfully requests this Court extend the Expert Disclosure date to October 31, 2022, and the

 Rebuttal Disclosure date to November 30, 2022. Plaintiff’s Counsel has been diligently working

 with their experts to gather the information needed for them to complete their expert disclosures,

 however, it is vital Plaintiff has the opportunity to explore the facts and issues of the case with all



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 corporate designees. Their testimony is relevant, directly proportional to the needs of the case,

 and necessary for each of Plaintiff’s experts to complete their Expert Disclosures.

                                         IV. CONCLUSION

        Plaintiff respectfully submits that Plaintiff and Plaintiff’s attorneys’ action herein qualifies

 as “good cause” to extend the current Expert Disclosure deadline to October 31, 2022, and to

 extend the current Rebuttal Expert Disclosure deadline to November 30, 2022, as permitted by

 Fed. R. Civ. P. 16(b)(4) and Fed. R. Civ. P. 6(b), this Court’s Scheduling Order, Local Rule 6.2,

 and case law. However, should this Court deny the extension of the Expert Disclosure deadlines,

 Plaintiff respectfully requests this Court order Defendants’ Corporate Designees to sit for their

 depositions prior to the current Expert Disclosure deadline of August 26, 2022, so that Plaintiff

 has sufficient information to provide to their Experts so they may complete their Expert

 Disclosures prior to the deadline.

        WHEREFORE, premises considered, Plaintiff respectfully requests this Court Grant its

 Motion for Extension of Expert Disclosures Deadline or in the alternative, grant Plaintiff’s Motion

 to Compel Defendants’ Corporate Designees to sit for Deposition Prior to August 26, 2022, and

 for all other relief the Court deems just and proper.

 Dated this 28th day of July, 2022.

                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 28th day of July, 2022, a true and correct copy of the above and
 foregoing was electronically filed with the Clerk of this Court using the CM/ECF system, which
 shall send notification of such filing to all parties.

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